                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

JANE DOE “C.L.”,                                   )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )       Case No. 6:23-cv-03278-RK
                                                   )
NEW PRIME, INC.,                                   )
                                                   )
               Defendant.                          )


                                ENTRY OF APPEARANCE

       COMES NOW Tina G. Fowler of the law firm of Ellis, Ellis, Hammons & Johnson, P.C.,

and hereby enters her appearance on behalf of the Defendant New Prime, Inc. in the above matter.


                                            Respectfully submitted,

                                            ELLIS ELLIS HAMMONS & JOHNSON, PC

                                            By /s/ Tina G. Fowler
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                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 16th day November, 2023, I electronically
filed the above and foregoing document using the Court’s e-filing system which sent notification
to all counsel of record.


                                               /s/ Tina G. Fowler
                                               Tina G. Fowler




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